             Case 1:21-cr-00161-RBW Document 78 Filed 04/08/22 Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                          :

                 Plaintiff,                        :   CASE NO. 1:21-cr-00161

        v.                                         :   JUDGE WALTON

DUSTIN BYRON THOMPSON,                             :

                 Defendant.                        :

    DEFENDANT’S RESPONSE TO GOVERNMENT’S ADDITIONAL PROPOSED JURY
                             INSTRUCTIONS

        In its Additional Proposed Jury Instructions, ECF No. 75, the government requests that the

Court provide Tenth Circuit Pattern Instruction 1.19, which directs the jury to evaluate the

evidence adduced at trial only as it pertains to Defendant and the charged offenses, and not to

consider whether Defendant or any other individual committed any other offense. Defendant does

not object to the inclusion of this instruction.

        The government further requests a limiting instruction concerning the statements made by

former President Donald J. Trump and Rudolph Giuliani on January 6, 2021. In light of the Court’s

previous decision, to wit: that neither a public authority nor an entrapment by estoppel instruction

will be given, Defendant has no additional objection1 to this instruction to that extent that it

confines the jury’s consideration to his state of mind or intent. However, Defendant further submits

that the Court’s previous ruling renders the last sentence of the proposed instruction irrelevant,

unnecessary, and potentially confusing. As neither former President Donald J. Trump’s nor

Rudolph Giuliani’s legal power to authorize the events of January 6, 2021, is a matter in



1
 While Defendant maintains his objection to the exclusion of those jury instructions, he
understands the ruling of the Court and does not intend to elicit testimony or make arguments
about actual authority in contravention of that ruling.
         Case 1:21-cr-00161-RBW Document 78 Filed 04/08/22 Page 2 of 2




controversy in this case and further, because this instruction could be interpreted a commentary

about the reasonableness of Defendant’s belief, he respectfully objects to its inclusion.

                                                  Respectfully submitted,

                                                  /s/ Samuel H. Shamansky
                                                  SAMUEL H. SHAMANSKY CO., L.P.A.
                                                  Samuel H. Shamansky (OH0048)
                                                  Donald L. Regensburger (OH0056)
                                                  523 South Third Street
                                                  Columbus, Ohio 43215
                                                  (614) 242-3939 – Phone
                                                  (614) 242-3999 – Fax
                                                  shamanskyco@gmail.com

                                                  Counsel for Defendant

                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true copy of the foregoing was filed with the Clerk

of Court for the United States District Court for the District of Columbia using the CM/ECF

system, which will send notification of such filing to Assistant U.S. Attorney William Dreher, 700

Stewart Street, Suite 5220, Seattle, Washington 98101 on April 8, 2022.


                                                  /s/ Samuel H. Shamansky
                                                  SAMUEL H. SHAMANSKY




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